                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT, HOLLEE ELLIS,
FRANCES HARVEY, and JEREMY KEEL, on behalf of
themselves and all others similarly situated,

                     Plaintiffs,

        v.
                                                                        Case No. 4:19-cv-00332-SRB
THE NATIONAL ASSOCIATION OF REALTORS,
REALOGY HOLDINGS CORP., HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and KELLER
WILLIAMS REALTY, INC.,

                     Defendants.




                                         NOTICE OF APPEAL

        Notice is hereby given that James Mullis hereby appeals to the United States Court of

Appeals for the Eighth Circuit from the district court’s Order granting final approval of

settlements with Anywhere Real Estate, Inc. (f/k/a Realogy Holdings Corp.), RE/MAX LLC,

and Keller Williams Realty, Inc. entered on May 9, 2024 (ECF No. 1487); Order granting Joint

Motion to Certify Final Settlement Approval Order Pursuant to Rule 54(b) entered on May 9,

2024 (ECF No. 1490); and all other orders adverse in whole or in part to Mr. Mullis.1




1
  Mr. Mullis is a member of the proposed settlement classes set forth in the Court’s May 9, 2024 Order
(ECF No. 1487 at 4) as well as a named plaintiff in Batton v. Nat’l Ass’n of Realtors, et al., 21-cv-430 (N.D.
Ill.) and Batton v. Compass, et al., 23-cv-15618 (N.D. Ill.). Mr. Mullis objected to the approval of the class-
action settlements between the plaintiffs in this action and defendants Anywhere Real Estate, Inc. (f/k/a
Realogy Holdings Corp.), RE/MAX LLC, and Keller Williams Realty, Inc. See ECF No. 1447 (Apr. 13,
2024).



         Case 4:19-cv-00332-SRB Document 1498 Filed 05/31/24 Page 1 of 3
Respectfully submitted,


Dated: May 31, 2024
                                    /s/ Randall P. Ewing, Jr.
                                    Randall P. Ewing, Jr. (Ill. Bar #6294238)
                                    George A. Zelcs (Ill. Bar No. 3123738)
                                    Ryan Z. Cortazar (Ill. Bar No. 6323766)
                                    KOREIN TILLERY, LLC
                                    205 North Michigan Avenue, Suite 1950
                                    Chicago, IL 60601
                                    Telephone: 312-641-9750
                                    Facsimile: 312-641-9751
                                    gzelcs@koreintillery.com
                                    rewing@koreintillery.com
                                    rcortazar@koreintillery.com

                                    Steven M. Berezney (MO Bar #56091)
                                    Michael E. Klenov
                                    Carol O’Keefe
                                    KOREIN TILLERY LLC
                                    505 N. 7th Street, Suite 3600
                                    St. Louis, MO 63101
                                    Telephone: (314) 241-4844
                                    sberezney@koreintillery.com
                                    mklenov@koreintillery.com
                                    cokeefe@koreintillery.com

                                    Vincent Briganti (admitted pro hac vice)
                                    Christian Levis (admitted pro hac vice)
                                    Noelle Forde (admitted pro hac vice)
                                    LOWEY DANNENBERG, P.C.
                                    44 South Broadway, Suite 1100
                                    White Plains, NY 10601
                                    Telephone: (914) 997-0500
                                    Facsimile: (914) 997-0035
                                    vbriganti@lowey.com
                                    clevis@lowey.com
                                    nforde@lowey.com

                                    Attorneys for James Mullis




                                       2

        Case 4:19-cv-00332-SRB Document 1498 Filed 05/31/24 Page 2 of 3
                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2024, the foregoing was filed electronically with the

Clerk of Court of the Western District of Missouri to be served by the Court’s electronic filing

system to all Counsel of Record:



                                             /s/ Randall P. Ewing, Jr.
                                                      Name




        Case 4:19-cv-00332-SRB Document 1498 Filed 05/31/24 Page 3 of 3
